
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                              _________________________          No. 93-1123                              DANIEL LENN, ETC., ET AL.,                               Plaintiffs, Appellants,                                          v.                          PORTLAND SCHOOL COMMITTEE, ET AL.,                                Defendants, Appellees.                              _________________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. Morton A. Brody, U. S. District Judge]                                            ____________________                              _________________________                                        Before                     Torruella, Selya and Boudin, Circuit Judges.                                                  ______________                              _________________________               Richard  L. O'Meara, with whom Murray, Plumb &amp; Murray was on               ___________________            ______________________          brief, for appellants.               Eric  R.  Herlan,  with  whom Peter  H.  Stewart,  Assistant               ________________              __________________          Attorney General,  and Drummond Woodsum Plimpton  &amp; MacMahon were                                 _____________________________________          on consolidated brief, for appellees.                              _________________________                                    July 15, 1993                              _________________________                    SELYA,  Circuit   Judge.     This  appeal   features  a                    SELYA,  Circuit   Judge.                            _______________          controversy  between the  parents of  a handicapped  child and  a          local  school committee.  Despite the  parents' protests, a state          hearing   officer   declared  the   school   committee's  1991-92          individualized  education  program  (IEP)  appropriate   for  the          child's needs and  in compliance  with federal law.   The  United          States  District  Court  for the  District  of  Maine upheld  the          finding.  We affirm.          I.  BACKGROUND          I.  BACKGROUND                    Daniel Lenn, a minor, is handicapped within the meaning          of  the Individuals  with Disabilities  Education Act  (IDEA), 20          U.S.C.     1400-1485  (1988 &amp;  Supp.  III 1991).1   Daniel  has a          severe, non-verbal learning disability connected with the brain's          right hemisphere.  While his verbal IQ test scores are average to          low  average,  Daniel   has  difficulty  interpreting  non-verbal          messages, such  as facial cues.   He has a short  attention span,          lacks  the ability to intake, process, or retrieve information in          an  organized   way,   possesses  poor   visual   memory,   often          misperceives the  world around him, and  pays excessive attention          to  small details.   His  disability inhibits  social interaction          with peers and impedes academic progress.                    Daniel attended the Portland, Maine public schools as a                                        ____________________               1In their complaint, the  plaintiffs also invoke section 504          of  the Rehabilitation Act, 29  U.S.C.   794  (1988).  Concluding          that the sweep  of the two statutes is identical  for purposes of          this  case,  the parties  have  briefed and  argued  their points          solely with  reference to the IDEA.   We assume arguendo that the                                                          ________          parties'  assessment is accurate.  Hence, we analyze the assigned          errors under the IDEA.                                          2          special  education student  through the eighth  grade.   While he          advanced from year to year,  his attainments fell steadily behind          those of  his peers.  His  progress slowed to a  crawl during the          1989-90  and  1990-91 school  years.   By  July 1991,  Daniel had          completed  the  eighth  grade;  nevertheless,  his  reading   and          mathematical calculation  scores were  at  roughly a  sixth-grade          level  and his score in applied mathematics was at a second-grade          level.                    Daniel's eighth-grade year (1990-91) was interrupted by          a  one-month  midwinter  hospital  stay,  during  which  treating          professionals illuminated the nature  and extent of his cognitive          disability.  That July,  Daniel's parents placed him in  a summer          program at Eagle Hill,  a private school in Massachusetts.   They          also contacted the Cleveland Clinic  and arranged to have  Daniel          undergo  a series  of additional  educational, neurological,  and          psychological  examinations.     Relying  in  part   on  the  new          information generated through  the Lenns'  efforts, the  Portland          School  Committee (Portland) shifted  gears, scrapped  several of          its earlier  (unsuccessful) approaches,  and proposed an  IEP for          Daniel's   ninth-grade   education    that   contained    several          innovations.  Nevertheless, Daniel's parents rejected the public-          school-based program, unilaterally enrolled Daniel as a full-time          residential  student at Eagle  Hill,2 and requested  a hearing on          the IEP's adequacy.                                        ____________________               2Daniel is  still  in residence  at  Eagle Hill,  albeit  at          considerable expense to the Lenns.                                          3                    After pondering testimony  from eighteen witnesses  and          reviewing numerous exhibits, the  state hearing officer concluded          that  Portland's IEP for the 1991-92  school year was "reasonably          calculated  to  be  of  significant  educational  benefit  in  an          environment  which is  much  less restrictive  than Eagle  Hill."          Accordingly, he  rejected the  Lenns' remonstrance.   The federal          district  court upheld  the  agency determination.   This  appeal          ensued.3          II.  STATUTORY OVERVIEW          II.  STATUTORY OVERVIEW                    We  start  our substantive  discussion  by  parsing the          statutory scheme and describing how,  and to what extent, parents          or guardians displeased by a school board's response to a child's          handicap may seek judicial review of an IEP.                                          A                                          A                    To qualify  for federal funding under the IDEA, a state          must  offer  "all  children  with  disabilities  .  .  .  a  free          appropriate public  education."   20 U.S.C.     1400(c), 1412(1).          In this context, appropriateness requires that  the instructional          plan  be  custom  tailored  to address  the  handicapped  child's          "unique  needs,"  20  U.S.C.    1400(c),  in  a  way  "reasonably          calculated to enable the  child to receive educational benefits."          Board of Educ. v. Rowley, 458 U.S.  176, 207 (1982); accord Amann          ______________    ______                             ______ _____                                        ____________________               3Daniel  Lenn  and his  parents,  Stephen  and Eileen  Lenn,          plaintiffs below, are appellants in this court.  Portland and the          Maine  Department  of  Education,  defendants  below,  appear  as          appellees.   In  view of  the community  of interest  between the          school  committee and the state agency, we treat the appeal as if          Portland were the sole appellee.                                          4          v.  Stow Sch. Sys., 982 F.2d 644,  647 (1st Cir. 1992); Roland M.              ______________                                      _________          v.  Concord Sch. Comm., 910 F.2d 983,  987 (1st Cir. 1990), cert.              __________________                                      _____          denied, 111  S. Ct.  1122 (1991).   Because the  IEP    a written          ______          document  detailing the student's  current educational level, the          short-term  and  long-term goals  of  the  educational plan,  the          specific  services to be offered (including transition services),          and a set of objective criteria for subsequent evaluation, see 20                                                                     ___          U.S.C.   1401(20);  34 C.F.R.    300.346 (1992)    comprises  the          centerpiece of a state's  IDEA-compelled response to a particular          child's handicap, the critical inquiry in a case of this genre is          "whether  a  proposed  IEP  is adequate  and  appropriate  for  a          particular  child at  a  given point  in  time."   Burlington  v.                                                             __________          Department  of Educ., 736 F.2d  773, 788 (1st  Cir. 1984), aff'd,          ____________________                                       _____          471 U.S. 359 (1985).                    The  IDEA does  not  promise perfect  solutions to  the          vexing problems  posed by the existence  of learning disabilities          in children and adolescents.  The Act sets more modest goals:  it          emphasizes an  appropriate, rather  than an ideal,  education; it          requires   an   adequate,   rather   than   an   optimal,    IEP.          Appropriateness and adequacy are terms of moderation.  It follows          that, although an IEP must afford some educational benefit to the          handicapped  child,  the benefit  conferred  need  not reach  the          highest attainable level or even the level needed to maximize the          child's  potential.  See Rowley, 458 U.S.  at 198; Roland M., 910                               ___ ______                    _________          F.2d at 992.                    The   IDEA   also   articulates   a    preference   for                                          5          mainstreaming.   See 20  U.S.C.    1412(5)  (requiring states  to                           ___          educate handicapped and non-handicapped children together "to the          maximum   extent  appropriate").     Translated   into  practical          application, this preference signifies  that a student "who would          make educational progress in a day  program" is not entitled to a          residential  placement  even if  the  latter  "would more  nearly          enable the child to reach his or her full potential."  Abrahamson                                                                 __________          v.  Hershman, 701 F.2d 223,  227 (1st Cir.  1983); accord Hampton              ________                                       ______ _______          Sch. Dist. v. Dobrowolski, 976 F.2d 48, 52 (1st Cir. 1992).  And,          __________    ___________          moreover, when the bias  in favor of mainstreaming is  married to          the concepts of appropriateness and adequacy, it becomes apparent          that  an IEP  which places  a  pupil in  a regular  public school          program will ordinarily  pass academic  muster as long  as it  is          "reasonably  calculated to  enable the  child to  achieve passing          marks and advance from grade to grade."  Rowley, 458 U.S. at 204.                                                   ______                                          B                                          B                    A parent or guardian may challenge an IEP's adequacy by          demanding  a due  process  hearing before  the state  educational          agency.   See 20 U.S.C.     1415(b)(2),  1415(c).  If  the agency                    ___          approves  the IEP, the parent or guardian may seek further review          in either state or federal court.  See id.  at   1415(e)(2).  The                                             ___ ___          relevant statutory provision requires the forum court to mull the          administrative record,  take  additional evidence  under  certain          circumstances, and  "base[] its decision on  the preponderance of          the  evidence."  Id.   While the IDEA  envisions judicial review,                           ___          the  statute "is  by  no means  an  invitation to  the  courts to                                          6          substitute  their own  notions  of sound  educational policy  for          those  of the school authorities which they review."  Rowley, 458                                                                ______          U.S. at  206.    Rather,  the law  contemplates  an  intermediate          standard of review on  the trial-court level   a  standard which,          because it is characterized by independence of judgment, requires          a more critical appraisal of the agency determination than clear-          error review  entails, but which, nevertheless,  falls well short          of complete  de novo review.   See  Roland M., 910  F.2d at  989;                       __ ____           ___  _________          Colin K. v. Schmidt, 715 F.2d 1, 5 (1st Cir. 1983).          ________    _______                    In  the  course   of  this   independent  review,   the          administrative   proceedings  must  be   accorded  "due  weight."          Rowley,  458 U.S.  at 206;  see  also Colin  K., 715  F.2d at  5.          ______                      ___  ____ _________          Although the exact quantum  of weight is subject to  the district          judge's exercise of informed discretion, see Hampton, 976 F.2d at                                                   ___ _______          52;  G.D. v. Westmoreland Sch. Dist., 930 F.2d 942, 946 (1st Cir.               ____    _______________________          1991), the judge is not at liberty either to turn a  blind eye to          administrative findings or to  discard them without sound reason.          See  Burlington, 736 F.2d at  792 ("The court,  in recognition of          ___  __________          the  expertise of  the administrative  agency, must  consider the          findings  carefully  and  endeavor  to  respond  to  the  hearing          officer's  resolution of each material issue.").  In the end, the          judicial function at  the trial-court level  is "one of  involved          oversight," Roland M., 910 F.2d at 989; and in the course of that                      _________          oversight,  the  persuasiveness  of a  particular  administrative          finding, or the lack thereof, is likely to tell the tale.                                          C                                          C                                          7                    Determining the adequacy of  an IEP is a fact-intensive          exercise.   Consistent with  this verity, the  governing standard          for appellate review in an IDEA case is firmly settled:                    [I]n  the absence  of a  mistake of  law, the                    court  of appeals  should  accept a  district                    court's   resolution   of   questions   anent                    adequacy  and  appropriateness of  an  IEP so                    long  as  the  court's  conclusions  are  not                    clearly erroneous on the record as a whole.          Id. at 990-91.  The clear-error hurdle is, of course, quite high.          ___          See, e.g., Cumpiano v. Banco Santander Puerto Rico, 902 F.2d 148,          ___  ____  ________    ___________________________          152  (1st Cir. 1990) (holding that, under a regime of clear-error          review, an appellate court  "ought not to upset findings  of fact          or  conclusions  drawn  therefrom unless,  on  the  whole of  the          record, [the  appellate judges] form a  strong, unyielding belief          that a  mistake has  been made").   Even  in precincts  where the          clearly erroneous  standard  obtains, however,  a  trial  court's          rulings of  law are  reviewed de  novo.   See  LeBlanc v.  B.G.T.                                        __  ____    ___  _______     ______          Corp., 992 F.2d  394, 396 (1st  Cir. 1993);  Dedham Water Co.  v.          _____                                        ________________          Cumberland Farms Dairy, Inc., 972 F.2d 453, 457 (1st Cir. 1992).          ____________________________          III.  CLAIMED ERRORS OF LAW          III.  CLAIMED ERRORS OF LAW                    In an  effort to  sidestep clear-error review  and take          shelter  in the lee of  a more accommodating  standard, the Lenns          attribute two  errors of law  to the  court below.   They contend          that  the court (1) applied  the wrong legal  yardstick in taking          the  measure of  the hearing officer's  findings; and  (2) failed          sufficiently to address each  of Daniel's identified  educational          needs in determining the adequacy of Portland's proposed IEP.  We          discuss these contentions seriatim.                                    ________                                          8                                          A                                          A                    Appellants'  flagship claim  is  that  the lower  court          affirmed the hearing  officer's decision  without conducting  the          independent evidentiary review that the IDEA requires.  The claim          founders:   the  record  below contains  all  the earmarks  of  a          suitably deferential, yet suitably independent, judicial inquiry.                    The linchpin of this conclusion is the district court's          opinion.  In it,  Judge Brody explains a reviewing  court's duty,          canvasses  the   pertinent  authorities,  and   acknowledges  the          relationship  between  the  hearing  officer's findings  and  the          district court's oversight function, concluding that  "while [the          district]  court must  make an  independent ruling,  [its] review          must  be something  short of  de novo."   Lenn  v.  Portland Sch.                                        __ ____     ____      _____________          Comm., No.  92-0011-P-H, slip op. at 6 (D. Me. Dec. 14, 1992) (D.          _____          Ct. Op.).  The court's discussion could hardly be more pointed or          more accurate.                    In  the face of this pellucid prose, appellants have an          uphill battle.  They argue that, although the district judge gave          lip  service  to the  correct  standard, he  actually  viewed the          evidence through  a much  more deferential  glass.   We recognize          that  actions sometimes speak louder  than words.   Thus, a trial          court  cannot satisfy its oversight obligation in an IDEA case by          reciting the catechism of independent review and  then failing to          practice  what it  preaches.   But when,  as now,  a  trial court          delineates the proper  rule of decision,  citing book and  verse,          the burden  of demonstrating  that the court  is merely  mouthing                                          9          empty platitudes rests with the party who mounts the  accusation.          This  is  a  heavy burden;  it  cannot  be  carried by  perfervid          rhetoric  or glib wordplay.   To  prevail on  such a  theory, the          accuser  must offer solid indications  that the district court in          fact  strayed  from  the straight  and  narrow.    After all,  an          appellate tribunal  ought not lightly assume that a federal trial          judge  is  indulging in  the adjudicatory  equivalent of  a shell          game.                    In  this instance,  we  think the  accusation that  the          judge said one  thing, but did another, is unfounded.  The Lenns'          most touted point  is their asseveration that  the district court          expressly  invoked the clear-error standard when  it noted that a          court  is "not confined to the hearing officer's decision if [it]          find[s] clear error."  D. Ct. Op. at 10.  Based primarily on this          remark,4 appellants invite us  to disregard the court's professed          allegiance to the  correct standard  of review.   We decline  the          invitation.                    First and foremost, we simply cannot credit appellants'          argument  that  this  isolated  reference  indicates  a wholesale                                        ____________________               4The district court also wrote that it found "ample evidence          in the record" to support the hearing officer's decision.  D. Ct.          Op. at 10.   Appellants  argue that this  statement manifests  an          abandonment  of  the  preponderance-of-the-evidence test.    This          argument  proves  nothing  more  than  appellants'  penchant  for          grasping  at straws    especially since  the context  makes clear          that the lower court applied the proper test; indeed, in the very          same  paragraph  of  its  opinion,  the  court  used  the  phrase          "preponderance  of the evidence."   Id.  We  will neither confine                                              ___          district courts to the rote recitation of buzzwords  nor penalize          them   for  relieving  the  tedium  of  opinion  writing  by  the          occasional employment of artful synonyms.                                          10          abandonment of the principles of independent review.  We think it          is  far more likely, all things considered, that the reference to          "clear error" represents simply an infelicitous choice of phrase.          Indeed, a close perusal of the record makes manifest the depth of          judicial  involvement and  provides  clinching evidence  that the          district  judge  utilized  the approved  level  of  review.   The          transcript reveals that the judge took a hands-on approach to the          decisional process.  Instead of limiting his perscrutation to the          administrative  record, he  conducted  what amounted  to a  mini-          trial, hearing testimony  from two  witnesses regarding  Daniel's          educational  needs  and  receiving  newly  emergent documentation          chronicling  Daniel's progress  at  Eagle Hill.   The  judge then          carefully scrutinized all the evidence, new and old, and drew his          own conclusions  from  it.   This is  the very  stuff from  which          independent review is fashioned.                    We have said enough.  The law does not require district          courts to be precise to the point of pedantry.   Consequently, an          appellate court must  not hesitate to excuse  an awkward locution          and give  a busy trial judge  a bit of breathing room.   If using          the  wrong word  or phrase  constituted grounds  for reversal  in          every  case, much  too high  a premium  would be placed  on sheer          literalism.   We have  regularly refused  to exact that  premium.          See,  e.g., Roland M., 910 F.2d at 991 n.4 (disregarding district          ___   ____  _________          court's "infelicitous" choice of terminology  where "the context,          and other statements in  the court's memorandum" made  plain that          the  court  fully  understood  the  operative  legal  principle);                                          11          Collins v. Marina-Martinez, 894 F.2d 474, 477 n.4 (1st Cir. 1990)          _______    _______________          (similar); Desfosses  v. Wallace  Energy, Inc.,  836 F.2d  22, 30                     _________     _____________________          (1st Cir.  1987) (similar); United  States v. Kobrosky,  711 F.2d                                      ______________    ________          449,  456 (1st Cir. 1983)  (similar); see also  Clauson v. Smith,                                                ___ ____  _______    _____          823 F.2d  660, 663 n.3 (1st Cir. 1987) ("We have held before, and          today reaffirm, that if `[a] reading of the colloquy and decision          as a  whole .  .  . indicates  that, despite  some  loose use  of          language, the  proper . .  . standard  was applied,' we  will not          reverse  on  the basis  of what  amounts  to a  lapsus linguae.")                                                          ______ _______          (citation  omitted); cf. Hampton, 976 F.2d at 54 (rejecting, on a                               ___ _______          burden of proof issue,  appellants' "contention that the district          court actually did something other than that which it said it was          doing").  So here.   Mindful that pettifoggery, for its own sake,          benefits  no one,  we  will not  disregard  the totality  of  the          circumstances  in  a  headlong  rush to  elevate  formalism  over          substance.                    We add,  moreover, that  even if Judge  Brody used  the          challenged  terminology  in a  purposeful  manner,  we would  not          reverse.  The "clear  error" reference appears in a  paragraph in          which, after restating the hearing  officer's key findings   that          the 1991-92 IEP  offered Daniel  a major change  in services  and          that   the  new  mix  was   reasonably  calculated  to  bestow  a          significant educational  benefit on him    the judge acknowledged          his  duty to afford the administrative proceeding due weight.5  A                                        ____________________               5The court wrote:  "While we are not confined to the hearing          officer's  decision if we find clear error, we are constrained in          that we cannot  impose our view of preferable educational methods                                          12          reference at this  juncture to clear  error is not  inappropriate          since the precise  degree of deference attributable  to a hearing          officer's subsidiary findings of fact in an IDEA  case ultimately                    __________          rests  within the trial court's  discretion.  See, e.g., Hampton,                                                        ___  ____  _______          976  F.2d at 52; Westmoreland,  930 F.2d at  946; Burlington, 736                           ____________                     __________          F.2d  at  792.    That  the  district  court  may  have  afforded          particular  administrative  findings substantial  respect    even          deference  on a  par with  clearly erroneous  review    would not          comprise  reversible  error   so  long  as  the   court  made  an          independent  ruling   as  to  the  IEP's  adequacy   based  on  a          preponderance   of  all  the   evidence,  including  the  hearing          officer's duly weighted findings.                    This  criterion was satisfied.   The opinion as a whole          shows   conclusively   that   the  judge   made   an  independent          determination concerning the adequacy of Portland's IEP, throwing          all the available  evidence into  the pot.   Among other  things,          Judge  Brody  specifically discussed  the  testimony  of Daniel's          teachers  in Portland,  the testimony  of the  Cleveland Clinic's          independent  evaluators, and  Daniel's standardized  test scores.          D. Ct.  Op. at 11.  He also cited additional record evidence that          buttressed  the  hearing  officer's evaluation  of  Daniel's past          progress in  the Portland  public schools  and the likelihood  of          future   educational  benefits   should   the   1991-92  IEP   be          implemented.  Id.  at 10.  Last, but surely  not least, the judge                        ___          applied the proper burden of proof, concluding that the Lenns had                                        ____________________          upon the state."  D. Ct. Op. at 10.                                          13          not "proven [theircase] by a preponderance ofthe evidence."  Id.6                                                                       ___                    It strains credulity to assume, in these circumstances,          that  the  district court's  lonely  reference  to "clear  error"          heralds an intention to disregard a standard of review explicitly          described  in the court's  opinion and indelibly  etched upon its          pages.   Hence, we find no warping of the standard of review.  We          hasten to add,  however, that  even if  the controversial  phrase          represents  more than  a slip  of the  district court's  pen    a          supposition  that we  deem  unsubstantiated    the reference,  by          itself,  does   not  call   into  question  the   court's  proper          performance of its oversight function.                                          B                                          B                    Appellants next  assert that  the  district court  must          "determine  separately for  each area  of  identified educational          need . . . whether, by  a preponderance of the evidence, [an IEP]          addresses that  need" sufficiently.   Appellants' Reply  Brief at          11.   Building on this premise, appellants then conclude that the          court below  emasculated the  requirement by failing  to consider                                        ____________________               6While the Lenns grudgingly acknowledge this reference, they          maintain that the  court erred  by requiring them  to prove  that          only Eagle Hill will provide Daniel with an appropriate education          ____          when,   in  fact,   their   burden  was   merely  to   prove  the          inappropriateness of  Portland's  IEP.   On  balance, we  do  not          believe it can fairly  be said that the court  misapprehended the          contours  of  the issue.    Throughout  its pages,  the  district          court's  opinion  is  geared   toward  determining  whether  "the          proposed  IEP  was  reasonably  calculated to  enable  Daniel  to          receive educational benefits."   D. Ct. Op. at  10.  Indeed,  the          court pointedly wrote that "[a]lthough the Eagle Hill residential          program may well be the ideal educational environment for Daniel,          that is not the legal standard under [the] IDEA."  Id.                                                                ___          This specific  disclaimer sounds the death  knell for appellants'          argument.                                          14          "separately"  and "directly"  whether  Portland's  IEP  addressed          Daniel's non-academic needs in a meaningfully beneficial way.  We          disagree with both the premise and the conclusion.                    Admittedly, an IEP is  designed as a package.   It must          target  "all of a child's special needs," Burlington, 736 F.2d at                   ___                              __________          788  (emphasis  supplied), whether  they  be academic,  physical,          emotional, or social.  See Roland M., 910 F.2d at 992 (explaining                                 ___ _________          that "purely academic  progress . . . is not  the only indici[um]          of  educational benefit");  Timothy  W. v.  Rochester, N.H.  Sch.                                      ___________     _____________________          Dist., 875  F.2d 954, 970 (1st Cir.)  (observing that "education"          _____          under the Act  is broadly  defined), cert. denied,  493 U.S.  983                                               _____ ______          (1989); U.S. Dep't of  Educ., Notice of Policy Guidance,  57 Fed.          Reg.  49,274 at 49,275 (1992)  (stating that an  IEP must address          "the  full  range  of  the  child's  needs").    Because  a  one-          dimensional view of an  IEP would afford too narrow  a foundation          for a determination that the program  is reasonably calculated to          provide "effective results" and "demonstrable improvement" in the          various  "educational and personal  skills identified  as special          needs,"  Burlington,   736  F.2d  at  788,   a  district  court's                   __________          determination  that  an IEP  complies  with  the Act  necessarily          involves a host of subsidiary determinations.                     Be  that  as  it  may,  appellants'  legal  formulation          distorts the Act's requirements.   The Act does not  mandate, nor          has any court held  it to require, that  the district judge  must          consider  each  unique  need in  isolation  and  make a  separate          finding regarding the  preponderance of the evidence in  each and                                          15          every  identified area.  Such a requirement would serve merely to          balkanize the  concept of educational  benefit and to  burden the          district courts without producing  any offsetting advantages.  We          hold that no such requirement exists.  In the last analysis, what          matters  is  not whether  the district  judge  makes a  series of          segregable findings,  but whether the  judge is cognizant  of all          the  child's special needs and considers the IEP's offerings as a          unitary whole, taking those special needs into proper account.                    The   record   also  belies   appellants'  self-serving          suggestion  that  the district  court assessed  Daniel's academic          needs in  a vacuum.    A trial court charged  with evaluating the          adequacy of an  IEP cannot be said to  have committed legal error          as long as (1)  it does not overlook  or misconstrue evidence  of          record,  and (2) its overall decision is based upon a supportable          finding  that the  program  described in  the  IEP is  reasonably          calculated to address  the handicapped child's  education-related          needs,  both academic  and  non-academic.   The district  court's          finding in this  case fits  comfortably within that  rubric.   We          explain briefly.                    The  district  court explicitly  acknowledged "Daniel's          self-esteem and social skills  needs" and took pains to  limn the          "wide  range  of  after-school   support  services"  proposed  by          Portland  to  address those  needs.    D.  Ct.  Op.  at  8.    In          considering  the  likely  impact  of these  services,  the  court          focused on Portland's plan to provide a social skills facilitator          and opined that, although  hiring a facilitator might not  be the                                          16          best mechanism for addressing Daniel's needs, "the ideal" is  not          "the legal standard under [the]  IDEA."  Id. at 10; see  also id.                                                   ___        ___  ____ ___          at  12.  The court observed that Portland's program would "enable          Daniel  to remain in his  home community and  interact daily with          non-disabled  peers,"  id.  at  10, thus  furthering  his  social                                 ___          development.7    Finally, the  judge  mentioned  that while  "the          goals for  Daniel's social  and organizational skill  development          would  be more useful if they could be objectively measured," id.                                                                        ___          at 11 n.2, this deficiency does not undermine the IEP.                    Based on these, and other comments, it is clear  beyond          hope of contradiction that Portland's ability to address Daniel's          non-academic   needs  informed   the  district   court's  overall          determination that the IEP  comports with the Act's requirements.          No more is exigible.          IV.  WEIGHT OF THE EVIDENCE          IV.  WEIGHT OF THE EVIDENCE                    Appellants' final  assignment of error posits  that the          district court blundered in  concluding that Portland's IEP would                                        ____________________               7We do not accept appellants' hypothesis that the mainstream          nature of a proposed  placement can never enter into  the primary          analysis  of an  IEP's  adequacy.   When  a child,  like  Daniel,          demonstrates a particular need for  learning how to interact with          non-disabled peers, a mainstream placement will almost inevitably          help to  address that need.   Such an  integral aspect of  an IEP          package  cannot be  ignored  when judging  the program's  overall          adequacy and appropriateness.   The Third Circuit, which recently          reaffirmed the  special nature  of the educational  benefits that          mainstream  programs confer,  apparently shares  this view.   See                                                                        ___          Oberti v. Board of Educ., ___ F.2d ___, ___ (3d  Cir. 1993) [1993          ______    ______________          WL  178480, *9]  (observing  that, in  assessing the  educational          benefit  of placing  a  handicapped  child  with  non-handicapped          peers,  "the  court must  pay special  attention to  those unique          benefits  the child  may  obtain from  integration  in a  regular          classroom  .   .  .,   i.e.,  the  development   of  social   and                                 ____          communication skills from interaction with nondisabled peers").                                          17          provide Daniel with an appropriate public education.  We  discern          no clear error.   To  the contrary, the  record fully sustains  a          finding that Portland's IEP is adequate and appropriate to ensure          the requisite degree of educational benefit.                    On this score, appellants' cardinal contention is  that          Portland's  IEP  fails to  take  account  of Daniel's  inadequate          social  skills.   We demur.   The  record  reflects that  the IEP          forthrightly  addresses  this  area of  critical  need,  offering          Daniel  an array  of  after-school socialization  services.   For          example, Daniel would spend three hours a day, three days a week,          with a social skills facilitator, who would encourage and oversee          his   involvement   in   extracurricular    and   community-based          activities.   The facilitator would  work to hone Daniel's skills          in  relating to non-disabled peers  in a real-world  milieu.8  On          the  remaining school  days, Daniel  would receive  social skills          programming  in  more   structured  environments,  spending   one          afternoon at  a one-on-one  counseling session with  a doctorate-          level psychologist  and the other  in the company  of handicapped          peers  at  a  group  counseling session  devoted  to  self-esteem                                        ____________________               8To be sure, there is room for principled disagreement about          the  efficacy  of  a   social  skills  facilitator.    Portland's          witnesses  and  plaintiffs'  experts  expressed  widely divergent          views  on this  topic.   But,  judges  are not  especially  well-          equipped  to choose  between  various educational  methodologies.          See  Rowley,  458  U.S. at  207-08.   Where,  as  here,  there is          ___  ______          satisfactory  record  support  for  the  appropriateness  of  the          particular  approach  selected  by  the   school  department  and          approved by the state education  agency, a reviewing court should          not  meddle.   See  id.;  see also  Roland  M., 910  F.2d  at 992                         ___  ___   ___ ____  __________          (warning that "courts should  be loathe to intrude very  far into          interstitial details or to  become embroiled in captious disputes          as to the precise efficacy of different instructional programs").                                          18          issues.  Thus, while  Portland's IEP may not contain  the precise          programs  that the  parents  prefer, it  embodies a  substantial,          suitably diverse socialization component.                    On the academic side, the IEP places Daniel in a small,          special education class for English (with a student/teacher ratio          of  eight-to-three)  and   four  mainstream  educational  courses          (ranging in size  from fifteen to  eighteen students per  class).          In  the  mainstream classes  (at least  three  of which  would be          taught or  co-taught by a  special educator), Daniel  would study          Western  civilization,  mathematics,9 science,  and  an elective.          The  special English class would occupy the first period of every          day and  would prepare Daniel organizationally  for the remainder          of the  day.  A small  group session held during  the last period          would  help  Daniel  synthesize   the  day's  lessons,  hone  his          organizational  skills,   and  teach  him   homework  strategies.          Portland  also offered  (1) personalized  instruction in  custom-          tailored  learning techniques, on a daily basis, to assist Daniel          in mastering the curriculum; and (2) a home/school coordinator to          work  once a  week with  Daniel's mother  to synthesize  home and          institutional instruction.                    Under federal law, Portland's  IEP package must  assure          Daniel a "basic floor of [educational] opportunity."  Rowley, 458                                                                ______          U.S. at 201 (internal quotation marks omitted).  The finding that                                        ____________________               9The   mainstream   math   class   contemplates   individual          instruction  geared  to  each  student's  level and  needs     an          especially  important  feature  given   the  nature  of  Daniel's          handicap  and the  problems he  has  encountered in  dealing with          applied mathematics.                                          19          Portland's  proposal  at  least  reaches  this  floor  cannot  be          faulted.  The school committee tendered a rigorous program, to be          administered by a highly experienced  and well-credentialed team,          catering to the full range of Daniel's needs through a variety of          mechanisms.10     The   academic  schedule,   with  its   mix  of          mainstream   courses,   small-class   instruction,  and   private          programming in compensatory skills, furnished abundant reason for          the hearing  officer and  the court  below to  find that  the IEP          would  likely  achieve  measured   success.11    The  IEP's  non-          academic  component     which  includes numerous  one-on-one  and          small-group   services   geared  toward   fostering  self-esteem,          enhancing   socialization   skills,   developing   organizational          abilities, and  perfecting  homework  techniques     furnishes  a          satisfactory predicate for a similar  finding in respect to  non-          academic needs.                    In   short,   Portland's  IEP   provides  "personalized          instruction with sufficient  support services to permit  [Daniel]          to  benefit educationally  from that  instruction."   Rowley, 458                                                                ______          U.S. at 203.  What is more, it allows Daniel to live at home with                                        ____________________               10Appellants  criticize  the IEP  for  offering  no services          geared toward physical education or health management needs.   In          fact, the IEP affords Daniel an individualized physical education          program  as   well  as  a  choice   of  extracurricular  athletic          activities.   Since the record  fails to demonstrate  that Daniel          suffers an  infirmity in  motor coordination or  personal hygiene          that  would  require  specially  designed programs,  no  more  is          required.               11Significantly, teachers who  had previously taught  Daniel          in large,  mainstream classes  testified that he  participated in          class activities,  did  well,  felt  good  about  his  work,  and          achieved passing grades.                                          20          supportive parents,  to be educated with  non-disabled peers, and          to  interact regularly with the  members of his  community.12  It          follows  inexorably  that   the  district  court's  findings   of          appropriateness  and  adequacy  comfortably  survive  clear-error          review.          V.  CONCLUSION          V.  CONCLUSION                    We need go  no further.13   The  trial court  correctly          discerned the relevant  legal principles and applied them  to the          task at  hand.  Its  conclusion that Portland's  proposed 1991-92          IEP meets Daniel's  needs is supported by the record.  Finding no          significant error of law or fact, we affirm the judgment below.          Affirmed.          Affirmed.          ________                                        ____________________               12This  mainstream  approach, which  places  Daniel in  "the          least  restrictive  environment"  appropriate  to his  needs,  34          C.F.R.    300.552(d) (1992), is  the preferred  choice under  the          Act.  See 20 U.S.C.   1412(5); see also Rowley, 458 U.S. at 202.                ___                      ___ ____ ______               13Appellants'   brief  is   larded   with  claims   that   a          fundamentally  flawed process created  substantive infirmities in          Portland's  IEP.   However,  in  the  district court,  appellants          stipulated  to the  absence  of any  disputed procedural  issues.          Because these procedural claims have not been properly preserved,          they  need not be addressed in this  venue.  See United States v.                                                       ___ _____________          Slade, 980 F.2d 27, 31 (1st Cir. 1992) (discussing raise-or-waive          _____          rule);  Hampton, 976 F.2d  at 53-54 (refusing  to consider claims                  _______          not articulated to the district court).                                          21

